                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 08-81443-CIV-HURLEY/HOPKINS

SCS ALEXANDRE ET CIE,

       Plaintiff,

v.

LANA MARKS LTD., INC.,

      Defendant.
___________________________/

           ORDER GRANTING DEFENDANT’S MOTIONS TO VACATE
          ENTRY OF DEFAULT, DENYING PLAINTIFF’S MOTION FOR
      DEFAULT JUDGMENT, AND VACATING ENTRY OF CLERK’S DEFAULT

       THIS CAUSE is before the court upon defendant Lana Marks Ltd., Inc.’s motions to vacate

entry of default [DE # 21, 26] and plaintiff’s motion for default judgment [DE # 18].

       After Lana Marks failed to timely respond to the complaint, clerk’s default was entered on

March 9, 2009. See DE # 9. Plaintiff then filed a motion for default judgment, and the court issued

an order to show cause why the motion should not be granted. See DE # 18, 19. Counsel for the

defendant then appeared and filed the instant motions to vacate the clerk’s default.

       Whether Lana Marks has demonstrated good cause justifying vacatur of the clerk’s default

pursuant to Fed. R. Civ. P. 55(c) is perhaps questionable. Nevertheless, it appears that Lana Marks

intends to assert a colorable defense to the allegations in the complaint, and that plaintiff would not

be unfairly prejudiced were Lana Marks permitted to do so. Moreover, there is a strong preference

that cases be determined on the merits wherever possible. See Owens v. Benton, 190 Fed. App’x

762, 763 (11th Cir. 2006); Enron Oil Corp. v. Diakuhara, 10 F.3d 90, 95 (2d Cir. 1993); Gulley v.

Orr, 905 F.2d 1383, 1386 (10th Cir. 1990); Heritz v. Woma Corp., 732 F.2d 1178, 1180-81 (3d Cir.
Order Granting Defendant’s Motions to Vacate Default and Denying Plaintiff’s Motion for Default Judgment
SCS Alexandre et Cie v. Lana Marks Ltd., Inc.
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1984).

         Accordingly, it is hereby ORDERED and ADJUDGED that:

         1.      Defendant’s motions to vacate default [DE # 21, 26] are GRANTED.

         2.      The default entered by the Clerk on March 9, 2009 [DE # 9] is VACATED.

                 Defendant is directed to file its response to the complaint separately in the court file

                 within FIVE (5) DAYS of entry of this order.

         3.      Plaintiff’s motion for default judgment [DE # 18] is DENIED.

         DONE and ORDERED in Chambers in West Palm Beach, Florida, this 8th day of June,

2009.



                                                            ________________________________
                                                            Daniel T. K. Hurley
                                                            U.S. District Judge
Copies provided to counsel of record




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                                                       2                                at http://us.geocities.com/uscts
